                               CO:\Tl:\GE~CY FEE CO:\TR.-\.CT
                                    FIRST ..\'.\IE:',D:\IE:\T


           THIS .-\GREE\IE\T. 111:i-lc and emcred into this 5'             day of .Au~ust, 2011, by and
bet",c!l 1hc u11dcr;1g11.:d. hcr.:inati.:r ,;nll.:J "Clients". anJ R.-\ Y\10\D C. GIVE~S. Atrnmcy at
Lil•.,· nt" th.:: Gi, ens Law Fi1111 hcrci11,ukr .:allcd "At11,rn.::y."

\\"hHeas. Clients pr,:\ iuusly rctain.:J Aauml!~ 10 rcpreseats Clients reg,1rding rcnts due on the
lc,1:;c: uf1l1c:ir \alive Allum1.:nt f-1463::!. and agr.:ed to pay for Attom.:)·'s services in reco\·ering
im:rensed r.:nts based on a sliding s,;;1lt: contingent basis, based on the point in the litigation
effort rec,l\"cry was obtained. and

Whereas. as n result of ..\ctom.:y" s effo1ts. Clients issues were addressed in several forums and
are al s.:veral Jitfrrent stages of li1igatirn1, ini.:luding I) an appeal and cross appeals in the
Federal Circuit of a S-t942 million Judgment of the Court ot"Fc:deral Claims, 2) several appeals
in th,: Interior Bc,ard of Indian Appeals (!BIA). and 3) efforts seeking additional present and
future rcnt, thru the Bureau of Indian Affairs (Bl.-\.). nnd

Whereas. as a result of Anomey·s effons. Clients ha~·e been able lo recover a S 13.5 million
Lump Sum Set1kmcnt for past rents and ti.J1ur.: r.:nts to bc paid on an annual basis for up to 52
>·c.irs. staning nt 5650,00IJ-·)·r and incre:1sing annuall~ 01, :i CPI-based cost of living adjustment,
and

Whereas. the contingent tc.; fonnulas in the original Contingent fee Agreement have proven
cumbersome to apply to the Lump S,1m Agreement and future rem of the initial and extended
t.:nns because cakulations arc somewhat compl.:x and the Lump Sum Pa:i,mcnt is not broken
down betw.:en the same forums and litigatiun st.Hus as in the initial Contingent Fee Ai,rreemenl,
and

Whereas. the foes Ill b..: paid un<.kr the 35~o and 25% contingencies in the belnw amendments
an: Jlighrlr lr:::ss than the foe that wo,LIJ be due umt.:r the must reasonable applications of the
original Comingcnt fe.:: Agreement sliding scale am! fonnulas to the Lump Sum Agreement and
fi.1ture rents increases obtained.


\OW, THEREFORE. it is mutually agreed mid understood that the prior Comingent fee
Agreement be amended as follows:

Paragrnph 2 - The prior ~2 be delekcl i11 its entirety and n new ...-ersion be inserted in it, place so
as to r.:ut.l:

        --2.     Clients agree to pa)' auorney for profossionnl services 35% of th.: S 13.5 million
        Lump Sum St"!t1lcme11t Amount paid under the Settlem.:nl Agreement resoli:ing Ot!11g11 er
        al 1. l.'nited S1en.:s ct al. CFC ;:0<,--ll) IL and 15~a of annual rental on Ah1sko Native
        ..\lll't111en1 F-1463::! pni<l for both the 2012-2013 indusi\·e period and for the extended




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                                                                                                      Exhibit F
                                                                                                    Page 1 of 2
                    or
       tem1 p.:riocl }014-}03::! im:lusiv,:. Cli.:ms shall direct that 1hes,: payments for
       prule,siomil ser\'kes shall be pnid directly 10 Allorney b>· Lessee BP Exploration
       (.-\lu,ka ). Inc. and,or 1he United States or any subdh·ision 1her<?of from the fi.mds due
       Cllcn1s al the s:ime cime the r.:maining fu1ids du,: nre paid to Clie1\ls, 1'-o fees shall be
       0\\"1:d for the second pos;ibl.:: extended term from 2039-1063 inclusi,·e."




Paragraph 3 - A new sentence be adtkd al th<: end of the prior ~3 so that the entire paragraph
read:

       ·'3.     Allomey agrees to accept said percentage of the amount received as aforesaid us
       full compensation for profossional services; and. if th.:rc ·are no sums collected or
       received in the causes of action, attorney agrees 10 make no charge for professional
       services. Attomey shall, however, be reimbursed by Clients for nny and all fees, costs,
       and expenses incurred by Anomey for and on bchalfofClients in the representation of
       Client's claim. cause or causes or action. Clients shall direct that this reimbursement of
       costs shall be made directly to Attorney by Lessee BP Exploru1ion lAlaska). Inc. and/or
       tht! Uni1ed States or any subdivision then:of from the funds due Clients."


       D.-\TED A~D SIGNED this )             day of August, 2011.



GIVENS   LAiW~RM           .
       By: ~~~"°._/4~
          RAY [ONO C. GIVENS
          Attorney al Law


CLIENTS:

         ~~r, /V>-tL S1'.1,1v
      Georgene Shtlgluk
                                      #                   j/~IUt:" ~~
                                                       Wallace Ocnga

                                                         ---z:;::;:~
                                                       Tony Delia


                                                       Jei\nie Miller


        ~~ ·-
       Tony Delia as Guardian of Trinity Delia




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                                                                                                   Exhibit F
                                                                                                 Page 2 of 2
